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               IN THE SUPREME COURT OF PENNSYLVANIA
                           MIDDLE DISTRICT


CAROL ANN CARTER, MONICA               : No. 7 MM 2022
PARRILLA, REBECCA POYOUROW,            :
WILLIAM TUNG, ROSEANNE MILAZZO,        :
BURT SIEGEL, SUSAN CASSANELLI, LEE     :
CASSANELLI, LYNN WACHMAN, MICHAEL      :
GUTTMAN, MAYA FONKEU, BRADY HILL,      :
MARY ELLEN BALCHUNIS, TOM DEWALL,      :
STEPHANIE MCNULTY AND JANET            :
TEMIN,                                 :
                Petitioners            :
                                       :
          v.                           :
                                       :
LEIGH M. CHAPMAN, IN HER OFFICIAL      :
CAPACITY AS THE ACTING SECRETARY       :
OF THE COMMONWEALTH OF                 :
PENNSYLVANIA; JESSICA MATHIS, IN       :
HER OFFICIAL CAPACITY AS DIRECTOR      :
FOR THE PENNSYLVANIA BUREAU OF         :
ELECTION SERVICES AND NOTARIES,        :
                                       :
                Respondents            :
                                       :
PHILIP T. GRESSMAN; RON Y. DONAGI;     :
KRISTOPHER R. TAPP; PAMELA GORKIN;     :
DAVID P. MARSH; JAMES L.               :
ROSENBERGER; AMY MYERS; EUGENE         :
BOMAN; GARY GORDON; LIZ MCMAHON;       :
TIMOTHY G. FEEMAN; AND GARTH           :
ISAAK,                                 :
                  Petitioners          :
                                       :
               v.                      :
                                       :
LEIGH M. CHAPMAN, IN HER OFFICIAL      :
CAPACITY AS THE ACTING SECRETARY       :
OF THE COMMONWEALTH OF                 :
PENNSYLVANIA; JESSICA MATHIS, IN       :
HER OFFICIAL CAPACITY AS DIRECTOR      :
FOR THE PENNSYLVANIA BUREAU OF         :
ELECTION SERVICES AND NOTARIES,        :
               Respondents
       Case 1:22-cv-00208-JPW Document 49-10 Filed 02/27/22 Page 2 of 2




                                        ORDER



PER CURIAM

      AND NOW, this 9th day of February, 2022, given that oral argument in this matter

is currently scheduled for February 18, 2022, the General Primary Election calendar, see,

e.g., 25 P.S. §§2868 and 2873 (relating to the time of circulating and filing nomination

petitions), is TEMPORARILY SUSPENDED, pending further Order of this Court.




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